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                                 IN THE UNITED STATES COURT
                               FOR THE DISTRICT OF PUERTO RICO




 UNITED STATES OF AMERICA,

             Plaintiff,

                          v.                       CRIM. NO.: 11-143(DRD/SCC)

 [1] JULIO A. PASTRANO-ARROYO,

             Defendant.




            REPORT AND RECOMMENDATION ON PLEA OF GUILTY

   I. PROCEDURAL BACKGROUND

   On April 20, 2011, defendant Julio A. Pastrano-Arroyo was charged in a multi-count

indictment. On April 24, 2012, the defendant, assisted by the court interpreter, appeared

before me and agreed to plead guilty to count one of the indictment. See United States v.

Woodard, 387 F.3d 1329 (11th Cir. 2004) (holding that a magistrate judge may, with the

defendant’s consent, conduct a Rule 11 guilty plea hearing). Count one charges that the

defendant, having been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed in and affecting interstate commerce a number

of firearms, all in violation of Title 18, United States Code, §§ 922(g)(1) and 924(a)(2).



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     The defendant was advised of the purpose of the hearing and placed under oath, with

instructions that his answers must be truthful or he would subject himself to possible

charges of perjury or making a false statement.

     II. CONSENT TO PROCEED BEFORE A MAGISTRATE JUDGE

     The defendant was provided with, and signed, a form waiving his right to trial by jury.1

He confirmed that his attorney explained and translated the form, and he was further

explained his right to have all proceedings, including the change of plea hearing,

conducted by a district judge. To this end, defendant was made to understand the

differences between the functions and jurisdiction of magistrate and district judges, and

that, if he chose to proceed before a magistrate judge, that the magistrate would hold the

hearing and prepare a report and recommendation, which would be subject to review by

and the final approval of the district judge. Having heard all of this, the defendant

consented to proceed before a magistrate judge.

     III.      PROCEEDINGS UNDER RULE 11 OF THE FEDERAL RULES OF CRIMINAL
               PROCEDURE

     The acceptance of guilty pleas for federal criminal violations is governed by Rule 11 of




1.          That form, entitled Consent to Proceed before a United States Magistrate Judge in a Felony
            Case for Pleading Guilty, was signed and consented to by both parties, and is made part of the
            record.

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the Federal Rules of Criminal Procedure, pursuant to which a guilty plea is valid only if it

is knowing and voluntary. United States v. Hernandez-Wilson, 186 F.3d 1, 5 (1st Cir. 2009).

Accordingly, Rule 11 “ensure[s] that a defendant who pleads guilty does so with an

‘understanding of the nature of the charge and consequences of his plea.’” United States v.

Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S. 459, 467

(1969)). Thus, a Rule 11 proceeding must indicate (1) the absence of coercion, (2) an

understanding of the charges, and (3) knowledge of the consequences of pleading guilty.

Cotal-Crespo, 47 F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244 (1st Cir. 1991)).

   A. Competence to Enter a Guilty Plea

   The defendant was questioned about his age, education, employment, history of

treatment for mental illness or addiction, use of medication, drugs, or alcohol, and his

understanding of the purpose of the hearing. It was confirmed that the defendant received

a copy of the indictment and fully discussed the charges with his counsel and was satisfied

with the advice and representation he received. The court inquired whether counsel for the

defendant or the government had any doubts about the defendant’s capacity to plead;

neither had any doubts about defendant’s competency. Upon hearing the defendant’s

responses and observing his demeanor, a finding was made that the defendant was

competent to plead and was fully aware of the hearing’s purpose.

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   B. Maximum Penalties

   The defendant expressed his understanding of the maximum penalties prescribed by

statute for the offense to which he was pleading guilty, namely, as to count one, a term of

imprisonment of up to ten years, a fine not to exceed $250,000, and a term of supervised

release of up to three years. However, Defendant was also informed that a special

monetary assessment of $100 would also be imposed, to be deposited in the Crime Victim

Fund, pursuant to Title 18, United States Code, Section 3013(a). Furthermore, the defendant

pled true to the forfeiture allegations. The court explained the nature of supervised release

and the consequences of violating its terms.

   C. Plea Agreement

   The defendant was shown documents titled Plea Agreement and Supplement to Plea

Agreement (together, “Plea Agreement”), which are part of the record, and identified his

initials and signatures. He confirmed that he had the opportunity to read and discuss the

Plea Agreement with his attorney before signing, that his attorney had translated the

document, that it represented the entirety of his understanding with the government, that

he understood its terms, and that no one had made any other or different promises or

assurances to induce him to plead guilty.

   Pursuant to the Plea Agreement in this case, the Government had agreed to

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recommend, or has agreed not to oppose the defendant’s request, that a particular sentence

or sentencing range is appropriate or that a particular provision of the Sentencing

Guidelines or sentencing factor does not apply. See Fed. R. Crim. P. 11(c)(1)(B). The

defendant was admonished, pursuant to Rule 11(c)(3)(B), that his sentence is a matter to

be decided by the presiding judge, who may disregard the Agreement’s recommendations

and impose any sentence within the statutory range. To this end, the presiding judge may

accept or reject the Plea Agreement or may defer decision until after considering the pre-

sentence report. The defendant understood that he could not later withdraw his guilty plea

because the presiding judge imposes a sentence greater than that recommended by the Plea

Agreement.

   The parties’ sentencing calculations and recommendations appear in the Plea

Agreement and were explained in open court. The defendant confirmed that these were

the sentencing recommendations he agreed to with the government. The defendant was

made to understand that the guidelines are no longer mandatory and are thus considered

advisory, and that during sentencing, the court will consider the sentencing criteria found

at Title 18, United States Code, Section 3553(a).

   The defendant was advised that under some circumstances, he or the government may

have the right to appeal the sentence the court imposes. The defendant was further

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informed, and professed to understand, that the Plea Agreement contains a waiver of

appeal provision under which the defendant agreed to waive his right to appeal the

judgment and sentence if the court accepts the Plea Agreement and sentences him

according to its terms and conditions.

   D. Waiver of Constitutional Rights

   The defendant was specifically advised that he has the right to persist in a plea of not

guilty, and that if he does so persist that he has the right to a speedy and public trial by

jury, or before a judge sitting without a jury if the court and government so agree; that at

trial he would be presumed innocent and the government would have to prove his guilt

beyond a reasonable doubt; that he would have the right to assistance of counsel for his

defense, and if he could not afford an attorney the court would appoint one to represent

him; that at trial he would have the right to hear and cross-examine the government’s

witnesses, the right to decline to testify unless he voluntarily elected to do so, and the right

to the issuance of subpoenas or compulsory process to compel the attendance of witnesses

to testify on his behalf. He was further advised that if he decided not to testify or put on

evidence at trial, his failure to do so could not be used against him, and that at trial the jury

must return a unanimous verdict before he could be found guilty.

   The defendant expressed his understanding of these right, and his understanding that

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by entering a plea of guilty there would be no trial and he would be waiving or giving up

the rights the court explained. The defendant’s counsel attested that he explained these

rights to his client and believed that the defendant understood his explanations. The

defendant was also informed that parole has been abolished and that any sentence of

imprisonment must be served. Further, defendant was explained that a pre-sentence report

would be prepared and considered by the district judge at sentencing. Defendant was

admonished that his guilty plea, if accepted, may deprive him of valuable civil rights,

including the right to vote, to hold public office, and to possess a firearm. The defendant

expressed his understanding of these consequences.

   E. Factual Basis for the Guilty Plea

   The government presented a summary of the basis in fact for the offense charged in

count one and the evidence the government had available to establish the defendant’s guilt

beyond a reasonable doubt, should the case go to trial. The defendant understood this

explanation and agreed with the government’s submission as to evidence which could have

been presented at trial.

   F. Voluntariness

   The defendant stated that he had not been induced to plead guilty, but, rather, that he

was entering such a plea freely and voluntarily because he is in fact guilty, and that no one

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had threatened him or offered him a thing of value in exchange for his plea. He

acknowledged that no one had made any promises in exchange for his guilty plea, other

than the recommendations set fort in the Plea Agreement. Throughout the hearing, the

defendant was able to consult with his attorney.

   IV.     CONCLUSION

   The defendant, by consent, appeared before me pursuant to Rule 11 of the Federal Rules

of Criminal Procedure and entered a plea of guilty as to count one of the indictment. After

cautioning and examining the defendant under Rule 11, I find that the defendant, Julio A.

Pastrano-Arroyo, is competent to enter this guilty plea, is aware of the nature of the offense

charged and the maximum penalties it carries, understands that the charge is supported

by evidence and a basis in fact, has admitted to the elements of the offense, and has done

so in an intelligent and voluntary manner with the full knowledge of the consequences of

his guilty plea. Therefore, I recommend that the court accept the guilty plea and that the

defendant be adjudged guilty as to count one of the indictment.

   IT IS SO RECOMMENDED.

   The parties have fourteen days to file any objections to this report and recommendation.

Failure to file the same within the specified time waives the right to appeal this report and

recommendation. Henley Drilling Co. v. McGee, 36 F.3d 143, 150-51 (1st Cir. 1994); United

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States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).

   In San Juan, Puerto Rico, this 1st day of May, 2012.

                       S/ SILVIA CARREÑO-COLL
                       UNITED STATES MAGISTRATE JUDGE




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